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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                      SOUTHERN DIVISION AT PIKEVILLE

  SABRINA ADKINS, et al.

        Plaintiffs

  v.                                             No. 7:22-cv-00007-REW-EBA

  BEN FIELDS, individually and in his
  official capacity as a Deputy Sheriff
  with the Letcher County Sheriff’s
  Department, et al.

        Defendants




                                      ORDER


       This action having come before the Court on the motion of Russell Coleman,

Attorney General of the Commonwealth of Kentucky, to quash a subpoena served on

him by the Plaintiffs under Federal Rule of Civil Procedure 45(d)(3), and the Court

being sufficiently advised,

       IT IS HEREBY ORDERED that Attorney General Russell Coleman’s motion

to quash the Plaintiffs’ subpoena be, and hereby is, GRANTED, and the Plaintiffs’

subpoena is hereby QUASHED and held for naught.

       For the reasons more fully articulated in the motion, the parties are precluded

from issuing subpoenas for documents in the possession, custody, or control of the

Attorney General’s Office of Special Prosecutions related to the criminal prosecution

of Defendant Ben Fields.


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      SO ORDERED, on this the _____ day of ____________, 2024.




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